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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-6433 JVS(JCGx)                                         Date   December 13, 2018

 Title             Mark Brulee, et al. v. DAL Global Services, LLC, et al.


 Present: The                    JAMES V. SELNA, U.S. District Judge
 Honorable
                         Karla Tunis                                          Not Present
                         Deputy Clerk                                       Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present


 Proceedings:           [IN CHAMBERS] Order GRANTING Motion for Final Approval of
                        Class Action Settlement and Class Representative Service Payments
                        [DKT 39] and Motion for Attorneys’ Fees and Costs [DKT 38]

Plaintiffs Mark Brulee (“Brulee”), Tully Mandizha (“Mandizha”), and Jeffrey Hutton
(“Hutton”) (collectively, “Class Representatives”) moved for final approval of class
action settlement and class representative service payments with Defendant DAL Global
Services. (Mot., Docket No. 39-1.) Plaintiffs also filed a motion for attorneys’ fees and
costs. (Mot., Docket No. 38.) DAL Global Services did not oppose either motion.

       For the following reasons, the Court grants the motion for final approval of class
settlement and class representative service payments and grants the motion for attorneys’
fees and costs .

                                               I. BACKGROUND

        Brulee initiated this action in state court against DAL Global Services alleging that
it (1) failed to provide meal periods; (2) failed to authorize and permit rest breaks; (3)
failed to pay minimum and straight time wages; (4) failed to pay overtime compensation;
(5) failed to indemnify employees for expenditures; (6) failed to timely pay final wages at
termination; (7) failed to provide accurate itemized wage statements; and (8) engaged in
unfair business practices in violation of the California Business & Professions Code.
(Mot., Docket No. 39-1 at 5.) The action was removed to this Court pursuant to the Class
Action Fairness Act of 2005 (“CAFA”). (Id.) Brulee filed a First Amended Complaint
adding Mandizha as a plaintiff and a cause of action for civil penalties under the
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California Private Attorney General Act (“PAGA”). (Id.)

        Brulee and Mandizha participated in mediation along with Hutton, another
employee involved in a separate action against DAL Global Services. (Id.) Mediation
took place after parties engaged in extensive discovery which included Class
Representatives providing personal records and being deposed by DAL Global Services.
(Id. at 6.) DAL Global Services provided pay and time records for a sample of the
putative class, and these records were analyzed by Class Representatives’ expert to
calculate DAL Global Services’ potential liability. (Id.)
        The parties engaged in a full-day mediation session with mediator Jeffrey Ross,
Esq. (“Ross”). (Id. at 7; Marquez Decl., Docket No. 39-2 ¶ 12.) Negotiations continued
for several weeks and concluded “only after the parties agreed to the mediator’s proposal
to resolve this case.” (Mot., Docket No. 39-1 at 7.) The settlement resulted in the parties
agreeing to the Stipulation of Settlement (the “First Proposed Settlement”). (See First
Proposed Settlement, Docket No. 31-3.) As part of the agreement, Brulee filed a Second
Amended Complaint (“SAC”) adding Jeffrey Hutton as a plaintiff. (Mot., Docket No.
31-1 at 4–5.)

       The SAC alleges that DAL Global Services maintained “systematic, company-
wide policy and practice[s]” that violated requirements of the California Labor Code,
Wage Orders issued by the Industrial Welfare Commission, and the California Business
& Professions Code. (SAC, Docket No. 31-3, Exhibit A ¶¶ 4–5.) Specifically, Class
Representatives allege that (1) employees work in lieu of taking meal and rest periods
resulting in unpaid time because meal periods are automatically deducted from pay; (2)
overtime pay is incorrectly calculated due to a failure to account for employees working
an overnight shift followed by another shift the same day, employees swapping shifts,
and bonuses earned by employees; and (3) DAL Global Services did not reimburse
business expenses. (Mot., Docket No. 39-1 at 2–3.) DAL Global Services continues to
deny all of the allegations and asserts that it may not be required to comply with
California labor laws if they are preempted by the Airline Deregulation Act. (Id. at 3–5.)

         A.      Summary of the Settlement

                 1.    The Settlement Class

         Pursuant to the Settlement Agreement, the proposed class consists of “all persons
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employed by [DAL Global Services] in non-exempt positions in California at any time
from August 2, 2013, through the Preliminary Approval Date [of the Settlement]” (the
“Class Period”). (Amended Stipulation of Settlement (“Settlement”), Marquez Decl.,
Docket No. 38-2, Ex.1 ¶ 2.4.) When the parties reached a settlement in principal, the
proposed settlement class covered approximately 2,650 employees. (Frank Decl., Docket
No. 216-6 at 5.) However, the number of employees covered would be larger if DAL
Global Services hired additional employees into positions covered by the proposed
settlement class before the Settlement is approved, which it did. (Mot., Docket No. 39-1
at 8.) The potential Class grew to 2,891 persons, a 9.1% increase.1 (Marquez Decl.,
Docket No. 39-2 ¶ 21.)

                     2.    Settlement Amount

       The Settlement provides that DAL Global Services will pay $2.5 million to resolve
this action. (Settlement, Docket No. 39-2, Ex.1 ¶ 5.2.1.) In addition to paying members
of the proposed settlement class (“Class Members”), this fund will be used to pay for
administrative costs, attorneys’ fees, service payments to Class Representatives, and a
payment to the California Labor & Workforce Development Agency (“LWDA”) for
PAGA penalties. (Id.) Should DAL Global Services hire new employees into covered
positions before the Proposed Settlement is approved then “[f]or each Class Member over
the 3,150 total, [DAL Global Services] will supplement the settlement fund by 20% of
the settlement payment that would be paid to a Class Member from the ‘Net Settlement
Amount,’ assuming an equally apportioned distribution among all Class Members and a
class size of 3,150.” (Id. ¶ 5.2.2.)

                     3.    Service Payments to Class Representatives

      Subject to Court approval, Class Representatives will receive a payment of
$10,000 each in addition to their settlement payments. (Id. ¶ 5.3.1.) DAL Global
Services will not oppose Class Representatives’ request up to $10,000. (Id.)

                     4.    Attorneys’ Fees


                1
           The final number of Participating Class Members is 2,888.
    (Cofinco Suppl. Decl., Docket No. 41 ¶ 13.)
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       Attorneys from Moon & Yang, APC, Ares Law Group, P.C., and Leslie Glyer,
P.C. (collectively, “Class Counsel”) will seek attorneys’ fees not to exceed $833,333.33
plus reasonable costs. (Id. ¶ 5.4.1.) “Class Counsel anticipate seeking not more than
$25,000 in litigation expenses . . . .” (Mot., Docket No. 31-1 at 8.) DAL Global Services
will not oppose an application for attorneys’ fees up to $833,333.33. (Settlement, Docket
No. 31-3 ¶ 5.4.1.)

                 5.    PAGA Penalties

      $100,000 will be paid “to the LWDA as its share of the settlement attributable to
claims for civil penalties brought under PAGA.” (Id. ¶ 5.5.3.)

                 6.    Settlement Administrator Costs

     The Settlement provides that the Settlement Administrator, CPT Group, Inc.
(“CPT”) will be paid an amount not to exceed $40,000. (Id. ¶ 5.6.1.)

                 7.    Calculation of Settlement Payments

       Payments will be made to Class Members once administrative costs, attorneys’
fees, service payments to Class Representatives, and PAGA penalties are deducted from
the $2.5 million Gross Settlement Amount. (Marquez Decl., Docket No. 39-2 ¶ 18.)
Payments will be calculated on a pro rata basis, “based on the ratio of the number of
weeks worked by each Class Member during the Class Period, to the total number of
weeks worked by all Class Members during the Class Period.” (Settlement, Docket No.
39-2, Ex. 1 ¶ 5.7.1(a).) Any payments not cashed after 180 days will be divided pro rata
among Class Members who previously cashed their payments. (Id. ¶ 5.7.1(b).) However,
if uncashed payments are less than $35,000, roughly $13 per Class Member, then they
will be sent to the State of California’s Unpaid Wage Fund. (Id.)

                 8.    The Notice Plan

       The Notice Plan requires direct mail notice to Class Members. (Id. ¶ 6.2.3.) The
Settlement Administrator will also establish a settlement website, which will include the
settlement agreement and a summary of the terms. (Id.) A notice that is returned with a
forwarding address will be mailed out to that address. (Id. ¶ 6.2.5.) If a returned notice
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does not include a forwarding address, the Settlement Administrator will perform a skip-
trace in an effort to obtain the Class Member’s current address. (Id. ¶ 6.2.6.)

                 9.    Claims Process

       Class Members who do not opt-out will automatically be a part of and bound by
any final settlement. (Id. ¶ 6.2.7.) To opt-out a Class Member must submit an Opt-Out
Request to the Settlement Administrator. (Id.) This request must be postmarked within
sixty days of the notice being sent. (Id.)

         B.      Preliminary Approval

       On July 2, 2018, the Court denied without prejudice Plaintiffs’ motion for
preliminary approval of class action settlement because the First Proposed Settlement
agreement’s cy pres provision was deficient and the Court found that Class Members
should have sixty days to respond to the notice received. (Order, Docket No. 35-1 at 17.)
The Court permitted the parties to submit an ex parte application with a proposed revision
indicating that unclaimed funds below $35,000 will be distributed to California’s
Unclaimed Wage Fund in the name of the class member. (App., Docket No. 36 at 3.)
The parties also proposed changing the opt-out and objection period from forty-five to
sixty days. (Id.) On July 30, 2018, the Court granted preliminary approval of the
Settlement. (Order, Docket No. 37.)

         C.      Notice

      Since receiving preliminary approval, the Court-approved Notice Plan was
successfully executed by CPT. (Mot., Docket No. 39-1 at 11; Cofinco Decl., Docket No.
39-6 ¶¶ 3-12.) Direct notice (“Notice Packets”) of the Settlement was mailed to 2,891
potential Class Members. (Cofinco Decl., Docket No. 39-6 ¶ 7.) As of November 1,
2018, 27 Notice Packets remain undeliverable. (Id. ¶ 9.)

D.       Objections/Exclusions

      According to the Court’s preliminary approval order, all objections or requests for
exclusion needed to be postmarked no later than sixty days after the notice was initially
mailed to the Class, which took place on September 12, 2018 (Order, Docket No. 37 ¶
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13; Cofinco Decl., Docket No. 39-6 ¶ 7.) The Class now consists of 2,888 members.
(Cofinco Suppl. Decl., Docket No. 41 ¶ 13) As of November 12, 2018, the deadline for
submitting disputes, requests for exclusion or objections to the Settlement, no Class
Members objected, and only three individuals requested exclusion (Id. ¶¶ 7, 10-13.)

                                     II. LEGAL STANDARD

A.       Class Certification

       Rule 23(a) imposes four prerequisites for a class action: (1) the class is so
numerous that a joinder of all members is impracticable (numerosity); (2) there are
questions of law or fact common to the class (commonality); (3) the claims or defenses of
the representative parties are typical of the claims or defenses of the class (typicality);
and (4) the representative parties will fairly and adequately protect the interests of the
class (adequacy). Fed. R. Civ. P. 23(a); United Steel, Paper & Forestry, Rubber, Mfg.
Energy, Allied Indus. & Serv. Workers Int’l Union, AFL-CIO v. ConocoPhillips Co., 593
F.3d 802, 806 (9th Cir. 2010).

       Under Rule 23(b), a plaintiff must show (1) that common factual and legal issues
predominate over individual questions and (2) that a class action is the best method to
resolve the class claims. Fed. R. Civ. P. 23(b)(3). There are several relevant factors to
consider during this analysis: (1) the class members’ interest in individually controlling
the prosecution or defense of separate actions, (2) the extent and nature of any litigation
concerning the controversy already begun by or against class members, (3) the
desirability or undesirability of concentrating the litigation of the claims in the particular
forum, and (4) the likely difficulties in managing a class action. Id. 23(b)(3)(A)-(D).

B.       Approval of Class Settlement

       Rule 23(e) requires court approval for class-action settlements. Fed. R. Civ. P.
23(e). A court considers several factors to determine whether a proposed settlement is
fair, adequate, and reasonable. These include:

                    (1) the strength of the plaintiff’s case; (2) the risk, expense,
                    complexity, and likely duration of further litigation; (3) the
                    risk of maintaining class action status throughout the trial;
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                     (4) the amount offered in settlement; (5) the extent of
                     discovery completed and the stage of the proceedings; (6)
                     the experience and views of counsel; (7) the presence of a
                     governmental participant; and (8) the reaction of the class
                     members to the proposed settlement.

    In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011)
    (quoting Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).

                                        III. DISCUSSION

                A.   Class Certification

          The Court preliminarily certified the proposed Class in its prior order.
    (Order, Docket No. 37.) Nothing has changed in the interim that would warrant a
    deviation from the Court’s prior ruling. Therefore, for the reasons specified in its
    preliminary approval order, the Court certifies the Settlement Class for final
    approval of the Settlement.

                B.   Approval of the Class Settlement

         The Court analyzes the applicable factors under Rule 23(e) and approves the
    Proposed Settlement.

                     1.    Strength of the Plaintiff’s Case and the Risk, Expense,
                           Complexity, and Likely Duration of Further Litigation

           “An important consideration in judging the reasonableness of a settlement is
    the strength of the plaintiffs’ case on the merits balanced against the amount
    offered in the settlement.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221
    F.R.D. 523, 526 (C.D. Cal. 2004) (citation omitted). However, “a proposed
    settlement is not to be judged against a speculative measure of what might have
    been awarded in a judgment in favor of the class.” Id.; see also Officers for Justice
    v. Civil Serv. Comm’n of the City and Cty. of San Francisco, 688 F.2d 615, 625
    (9th Cir.1982) (“Neither the trial court nor [the appellate court] is to reach any
    ultimate conclusions on the contested issues of fact and law which underlie the
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    merits of the dispute, for it is the very uncertainty of outcome in litigation and
    avoidance of wasteful and expensive litigation that induce consensual
    settlements.”). A second relevant factor “is the risk of continued litigation
    balanced against the certainty and immediacy of recovery from the Settlement.”
    Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482, 489 (E.D. Cal. 2010).

           These factors support final settlement approval. Class Representatives “are
    confident in the merits of their claims, [but] a legitimate controversy exists as to
    each cause of action.” (Marquez Decl., Docket No. 39-2 ¶ 34.) Additionally,
    “because the issues here are fairly contested, there is a possibility of the Court not
    awarding PAGA penalties even if [the Class] prevailed on the merits.” (Id. ¶ 35.)
    Although the parties have engaged in a significant amount of informal discovery
    and investigation, significant formal, written discovery remains before the action
    could proceed to class certification and trial. (See Id. ¶ 37.) “As a result, the
    parties would incur considerably more attorneys’ fees and costs . . . .” (Id.)
    Considering the risk and expense involved in continuing the proceedings, this
    factor weighs in favor of final approval.

                    2.    Amount Offered in the Proposed Settlement

            “It is well-settled law that a cash settlement amounting to only a fraction of
    the potential recovery does not per se render the settlement inadequate or unfair.”
    In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000) (quoting
    Officers for Justice v. Civil Serv. Comm’n of City & Cty. of San Francisco, 688
    F.2d 615, 628 (9th Cir. 1982)). As a result, district courts should not judge the
    proposed settlement “against a hypothetical or speculative measure of what might
    have been achieved by the negotiators.” In re Toys R Us-Delaware, Inc.--Fair &
    Accurate Credit Transactions Act (FACTA) Litig., 295 F.R.D. 438, 453 (C.D. Cal.
    2014) (quoting Officers for Justice, 688 F.2d at 625). Instead, courts should
    consider the settlement in conjunction with “factors such as the risk of losing at
    trial, the expense of litigating the case, and the expected delay in recovery (often
    measured in years).” Id.

          An expert, using payroll and timekeeping records provided by DAL Global
    Services, calculated that a realistic total recovery under all claims amounts to $7.6
    million, considering the beginning of the Class Period, August 2, 2013, and ending
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    on the date of mediation, February 5, 2018—a total of 235.43 weeks. (Marquez
    Decl., Docket No. 31-2 ¶¶ 18–26; Marquez Decl., Docket No. 39-2 ¶ 21-22.)
    However, when adjusting for the risk of not succeeding should the claims proceed,
    Class Counsel estimated that the payout is $2.3 million. (Marquez Decl., Docket
    No. 39-2 ¶ 24.)

           Because the Class Period in the Settlement ends on July 30, 2018, the date
    the Court ultimately granted preliminary approval, the class period covers an
    additional 25 weeks from the date of mediation—a total of 260.43 weeks, which is
    a 10.6% increase in the number of weeks since the start of the Class Period until
    the date of mediation. (Id. ¶ 23.) As anticipated by the parties, DAL Global
    Services hired additional workers, increasing the original estimate of 2,650 persons
    in the Classto a final number of 2,888 persons—approximately a 9.1% increase.
    (Id. ¶ 22; Cofinco Suppl. Decl., Docket No. 41 ¶ 13.) In order to account for the
    10.6% increase in the weeks and the 9.1% increase in Class size, Plaintiffs now
    estimate a realistic maximum recovery of $8.37 million, with a risk-discounted
    figure of $2.51 million. (Marquez Decl., Docket No. 39-2 ¶ 24.)

           Therefore, a $2.5 million settlement is a reasonable result for the proposed
    settlement class, particularly considering that the Court might not have awarded
    full PAGA penalties and there is no guarantee that the proposed settlement class
    would have prevailed at trial. (Id. ¶¶ 32-33.) The settlement will also give each
    Class Member, on average, a significant recovery of $510.37. (Marquez Decl.,
    Docket No. 38-2 ¶ 18.); see, e.g., Tijero v. Aaron Bros., Inc., 301 F.R.D. 314, 324
    (N.D. Cal. 2013) (approving wage and hour class action settlement with total
    recovery of $800,000 and average recovery between $28 and $45). This factor
    weighs in favor of final approval.

                          iii.   Extent of Discovery Completed and the Stage of the
                                 Proceedings

           “A court is more likely to approve a settlement if most of the discovery is
    completed because it suggests that the parties arrived at a compromise based on a
    full understanding of the legal and factual issues surrounding the case. The more
    the discovery [is] completed, the more likely it is that the parties have ‘a clear view
    of the strengths and weaknesses of their cases.’” In re Toys R Us, 295 F.R.D. at
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    454 (C.D. Cal. 2014) (internal quotations omitted) (quoting Young v. Polo Retail,
    LLC, 2007 WL 951821, No. C-o2-4546 VRW, at *4 (N.D. Cal. Mar. 28, 2007)).
    Likewise, mediation suggests that the parties know their relative strengths and
    weaknesses. See id. at 455.

           Here, although some discovery remains, the parties have engaged in
    extensive discovery that involved Class Representatives providing DAL Global
    Services with personal documents and DAL Global Services deposing Class
    Representatives. (Marquez Decl., Docket No. 39-2 ¶ 9.) Additionally, DAL
    Global Services provided to Class Counsel timekeeping records for 269 Class
    Members, payroll records for 638 Class Members, corporate policy documents,
    personnel files, and class member contact information. (Id. ¶¶ 9-10.) The parties
    also participated in a day-long mediation. (Id. ¶¶ 12-13.) Although the parties did
    not settle that day, they continued discussions and subsequently reached an
    agreement after agreeing to the mediator’s proposal to resolve the case. (Id. ¶¶ 13-
    14.) The amount of investigation already conducted and the negotiations further
    suggest that the settlement is fair, reasonable, and adequate.

                          iv.    Experience and Views of Counsel

            “Parties represented by competent counsel are better positioned than courts
    to produce a settlement that fairly reflects each party’s expected outcome in
    litigation.” In re Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Both
    parties in this action were represented by competent counsel. Defendants retained
    Morgan, Lewis & Bockius, LLP, while Class Representatives were represented by
    attorneys experienced in wage and hour class actions. (See Marquez Decl, Docket
    No. 31-2 ¶¶ 44–48; Moon Decl., Docket No. 31-4 ¶¶ 20–24; D’Abusco Decl.,
    Docket No. 31-5 ¶¶ 2–11; Glyer Decl., Docket No. 31-6 ¶¶ 2–11.) Therefore, this
    factor also supports final approval.

                          v.     Presence of a Governmental Participant

          No governmental entity is present in this litigation. Pursuant to CAFA, the
    U.S. Attorney and the California Attorney General were notified of the Settlement.
    (Frederick Decl., Docket No. 42 ¶ 2, Ex. A, B.) No government agency has voiced
    a concern. (Id.) Accordingly, this factor does not apply in this case. See In re
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    Toys R Us-Delaware, 295 F.R.D. at 455 (factor does not apply in absence of
    government participant).

                            vi.    Reaction of the Class Members to the Settlement

          “It is established that the absence of a large number of objections to a
    proposed class action settlement raises a strong presumption that the terms of a
    proposed class settlement action are favorable to the class members.” Nat’l Rural
    Telecomms., 221 F.R.D. at 529 (citations omitted); see also Barbosa v. Cargill
    Meat Sols. Corp., 297 F.R.D. 431, 448 (E.D. Cal. 2013) (“Where a settlement
    agreement enjoys overwhelming support from the class, this lends weight to a
    finding that the settlement agreement is fair, adequate, and reasonable.”).

          Following the Court’s preliminary approval of the Settlement, CPT caused
    the Court-approved Notice Packets to be mailed to the 2,891 proposed Class
    Members. (Cofinco Decl., Docket No. 39-6 ¶ 7.) The mailed notice effort was
    ultimately delivered to all but 27 Class Members. (Id. ¶ 9.) CPT also set up a
    website for the Settlement, from which Class Members were able to obtain the
    Settlement Agreement and a summary of the Settlement terms. (Id. ¶ 8.)

           As of November 12, 2018, none of the 2,891 proposed Class Members have
    objected to the Settlement. (Cofinco Suppl. Decl., Docket No. 41 ¶ 10.)
    Additionally, only 3 people filed requests for exclusion, which amounts to
    approximately 0.1% of the Class. (Id. ¶ 12.) The Court finds that the overall
    reaction by Class Members to the Settlement has been positive. See Churchill, 361
    F.3d at 577 (affirming district court’s approval of settlement where 500 of 90,000
    class members opted out (.56%) and 45 class members objected to the settlement
    (.05%)). Accordingly, the absence of objections and small number of requests for
    exclusion weighs in favor of final approval.

          Overall, the weight of the factors supports the Court’s conclusion that the
    Settlement is fair, reasonable, and adequate.

    C.          Notice

                Rule 23(c)(2)(B) requires that the Court “direct to class members the best
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    notice that is practicable under the circumstances, including individual notice to all
    members who can be identified through reasonable effort.” Fed. R. Civ. P.
    23(c)(2)(B). Similarly, Rule 23(e)(1) requires that a proposed settlement may only
    be approved after notice is directed in a reasonable manner to all class members
    who would be bound by the agreement. Fed. R. Civ. P. 23(e)(1).

           In its preliminary approval order, the Court approved the plan for sending
    notice to potential Class Members. (Order, Docket No. 37.) As stated above, CPT
    caused notice to be mailed via first class mail to 2,891 proposed Class Members.
    (Cofinco Decl., Docket No. 39-6 ¶ 7.) The mailed notice effort reached all but 27
    Class Members—approximately 99.7%. (Id. ¶¶ 9.) Additionally, a website was
    created for the Settlement, from which Class Members were able to obtain
    information about the case and view documents related to the Settlement. (Id. ¶ 8.)

            “Notice is satisfactory if it generally describes the terms of the settlement in
    sufficient detail to alert those with adverse viewpoints to investigate and to come
    forward and be heard.” Rodriguez v. West Publ’g Corp., 563 F.3d 948, 962 (9th
    Cir. 2009) (internal quotation marks and citation omitted). “Settlement notices are
    supposed to present information about a proposed settlement neutrally, simply, and
    understandably[.]” Id. “That standard does not require detailed analysis of the
    statutes or causes of action forming the basis for the plaintiff class’s claims, and it
    does not require an estimate of the potential value of those claims.” Lane, 696
    F.3d at 826.

           The notice approved by the Court and implemented by CPT satisfies this
    standard. Accordingly, the Court finds that the notice to the Settlement Class was
    fair, adequate, and reasonable.

    D.          Class Representative Incentive Award

           Courts have the discretion to issue incentive awards to class representatives.
    Rodriguez v. West Publ’g Corp., 563 F.3d 948, 958-59 (9th Cir. 2009) (“Incentive
    awards are fairly typical in class action cases.”). The awards are “intended to
    compensate class representatives for work done on behalf of the class, to make up
    for financial or reputational risk undertaken in bringing the action, and, sometimes,
    to recognize their willingness to act as a private attorney general.” Id.
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           Pursuant to the Settlement, Representative Plaintiffs Brulee, Mandizha, and
    Hutton seek incentive awards of $10,000. (Mot., Docket No. 39-1 at 18.)
    Numerous courts in the Ninth Circuit have approved similar or higher incentive
    awards where “the class representative has demonstrated a strong commitment to
    the class.” Garner v. State Farm Mut. Auto. Ins. Co., No. CV 08 1365 CW (EMC),
    2010 WL 1687832, at *17 n.8 (N.D. Cal. Apr. 22, 2010) (collecting cases). Here,
    the three Class Representatives each expended substantial time and effort
    conferring with counsel, reviewing pleadings and other documents, responding to
    written discovery (including providing their personal telephone and bank records),
    sitting for deposition, conducting class outreach, participating in settlement
    negotiations, and reviewing the Settlement Agreement [in efforts to] bring
    substantial relief to the Class (Brulee Decl., Docket No. 39-3; Mandizha Decl.,
    Docket No. 39-4; Hutton Decl., Docket No. 39-5.) Additionally, Brulee,
    Mandizha, and Hutton consistently communicated with counsel about the status of
    the case. (Brulee Decl., Docket No. 39-3 ¶¶ 7-9; Mandziha Decl., Docket No. 39-4
    ¶¶ 8-11; Hutton Decl., Docket No. 39-5 ¶ 8.) Further, they were deposed and
    involved in responding to written discovery and gathering responsive documents.
    (Brulee Decl., Docket No. 39-3 ¶¶ 10-11; Mandziha Decl., Docket No. 39-4 ¶¶ 12-
    13; Hutton Decl., Docket No. 39-5 ¶¶ 8-9.) Brulee estimates that he spent 75 to 80
    hours performing his duties as a class representative. (Brulee Decl., Docket No.
    39-3 ¶ 17.) Mandziha estimates spending 80 to 90 hours on the class
    representative duties. (Mandziha Decl., Docket No. 39-4 ¶ 19.) Hutton estimates
    having spent approximately 60 to 70 hours on the case against DAL Global
    Services. (Hutton Decl., Docket No. 39-5 ¶ 10.) In addition, each of the Class
    Representatives “have risked their reputation in the community and with regard to
    future employment opportunities as a result of stepping forward publicly in a class
    action.” (Brulee Decl., Docket No. 39-3 ¶¶ 16-17; Mandziha Decl., Docket No.
    39-4 ¶¶ 18-21; Hutton Decl., Docket No. 39-5 ¶ 9.) Based on Brulee’s,
    Mandziha’s, and Hutton’s time, effort, and dedication to this matter as the Class
    Representatives, the Court finds that the incentive award is reasonable.
    Accordingly, the Court grants Plaintiffs’ motion for Class Representative incentive
    awards for $10,000.

    E.          Attorneys’ Fees and Costs

                1.       Fees
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           Class Counsel seeks an award of attorneys’ fees in the amount of
    $833,333.33. (Mot., Docket No. 38-1 at 11.) The parties agreed to a “clear
    sailing” provision, whereby DAL Global Services would not object to Class
    Counsel’s application for fees. (Settlement, Docket No. 38-2 ¶ 5.4.1.)

          A court may award reasonable attorneys’ fees and costs in certified class
    actions where they are authorized by law or by the parties’ agreement. Fed. R. Civ.
    P. 23(h). Here, both the California law applicable in this diversity CAFA action
    and the parties’ agreement authorizes the award of attrorneys’ fees. (Mot., Docket
    No. 38-1 at 8.) See Cal. Lab. Code §§ 218.5, 1194, 2802(c); Cal. Code of Civ.
    Proc. § 1021.5. Even when parties have agreed to a fee award, “courts have an
    independent obligation to ensure that the award, like the settlement itself, is
    reasonable.” In re Bluetooth, 654 F.3d at 941.

           A lawyer who recovers “a common fund for the benefit of persons other than
    himself or his client” is entitled to reasonable attorney fees from the fund as a
    whole. Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); Staton v. Boeing
    Co., 327 F.3d 938, 967 (9th Cir. 2003). The Supreme Court has explained the
    rationale underlying the “common fund doctrine” as follows:

                      [P]ersons who obtain the benefit of a lawsuit without
                      contributing to its cost are unjustly enriched at the
                      successful litigant’s expense. Jurisdiction over the fund
                      involved in the litigation allows a court to prevent this
                      inequity by assessing attorney’s fees against the entire fund,
                      thus spreading fees proportionately among those benefited
                      by the suit.

    Van Gemert, 444 U.S. at 478 (citation omitted). Accordingly, “in common fund
    cases, a variant of the usual rule applies and the winning party pays his or her own
    attorneys’ fees.” Staton, 327 F.3d at 967.

                In a common fund case, the court has discretion to use either a percentage or


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    lodestar method to determine attorney fees.2 Hanlon v. Chrysler Corp., 150 F.3d
    1011, 1029 (9th Cir. 1998). The percentage method requires the court simply to
    determine what percentage of the fund would provide class counsel with a
    reasonable fee under all the circumstances. Id. The Ninth Circuit “has established
    25% of the common fund as a benchmark award for attorney fees.” Id. However,
    “[t]he benchmark percentage should be adjusted, or replaced with a lodestar
    calculation, when special circumstances indicate that the percentage recovery
    would be either too small or too large in light of the hours devoted to the case or
    other relevant factors.” Six (6) Mexican Workers v. Ariz. Citrus Growers, 904
    F.2d 1301, 1311 (9th Cir. 1990); Vizcaino v. Microsoft Corp., 290 F.3d 1043,
    1048 (9th Cir. 2002) (“The 25% benchmark rate, although a starting point for
    analysis, may be inappropriate in some cases.”). Relevant to this case, “California
    district courts usually award attorneys’ fees in the range of 30–40% in wage and
    hour class actions that result in the recovery of a common fund under $10 million.”
    Miller v. CEVA Logistics USA, Inc., No. 2:13-CV-01321-TLN, 2015 WL
    4730176, at *8 (E.D. Cal. Aug. 10, 2015). A “mechanical or formulaic
    application” of the percentage method is inappropriate “where it yields an
    unreasonable result.” In re Coordinated Pretrial Proceedings in Petroleum Prods.
    Antitrust Litig., 109 F.3d 602, 607 (9th Cir. 1997) [hereinafter Petroleum Prods.];
    In re Critical Path, Inc., Sec. Litig., No. C 01-00551 WHA, 2002 U.S. Dist. LEXIS
    26399, at *24 (N.D. Cal. June 18, 2002). Regardless of which method the court
    uses, it must “explain[] its determination by written order or in open court.”
    Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000).

           The Ninth Circuit encourages courts to use the lodestar method as a “cross-
    check” on the reasonableness of a fee award determined with the percentage
    method. See Vizcaino, 290 F.3d at 1050; Petroleum Prods., 109 F.3d at 607 (“It is
    reasonable for the district court to compare the lodestar fee, or sum of lodestar fees,
    to the 25% benchmark, as one measure of the reasonableness of the attorneys’
    hours and rates.”); Kakani v. Oracle Corp., No. C 06-06493 WHA, 2007 U.S. Dist.

                2
            “Despite this discretion, use of the percentage method in
    common fund cases appears to be dominant.” In re Omnivision
    Techs., Inc., 559 F. Supp. 2d 1036, 1046 (N.D. Cal. 2007); see
    also In re Activision Sec. Litig., 723 F. Supp. 1373, 1378-79
    (N.D. Cal. 1989) (discussing advantages of percentage method).
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    LEXIS 95496, at *6 (N.D. Cal. Dec. 21, 2007). As such, this Court will consider a
    lodestar calculation for purposes of comparison and validation.

           To calculate the “lodestar,” the court must multiply the number of hours the
    attorneys reasonably spent on the litigation by the reasonable hourly rate in the
    community for similar work. McElwaine v. U.S. West, Inc., 176 F.3d 1167, 1173
    (9th Cir. 1999). The court may raise or lower the lodestar based on several factors:

                    (1) the time and labor required; (2) the novelty and
                    difficulty of the questions involved; (3) the skill requisite
                    to perform the legal service properly; (4) the preclusion of
                    other employment by the attorney due to acceptance of the
                    case; (5) the customary fee; (6) whether the fee is fixed or
                    contingent; (7) time limitations imposed by the client or the
                    circumstances; (8) the amount involved and the results
                    obtained; (9) the experience, reputation, and ability of the
                    attorneys; (10) the “undesirability” of the case; (11) the
                    nature and length of the professional relationship with the
                    client; and (12) awards in similar cases.

    Fischel v. Equitable Life Assurance Soc’y, 307 F.3d 997, 1007 n.7 (9th Cir. 2002).
    The court must be cautious, however, not to adjust the lodestar figure based on any
    of the foregoing factors that are subsumed in the original lodestar calculation.
    Morales v. City of San Rafael, 96 F.3d 359, 364 & n.9 (9th Cir. 1996). The Ninth
    Circuit has noted that multipliers range from 1.0-4.0 and a “bare majority” fall
    within the range of 1.5-3.0. Vizcaino, 290 F.3d at 1051 n.6; Van Vranken v. Atl.
    Richfield Co., 901 F. Supp. 294, 298 (N.D. Cal. 1995) (“Multipliers in the 3-4
    range are common in lodestar awards for lengthy and complex class action
    litigation.”).

          Class counsel provided several options for calculations of its lodestar
    amount in a supplemental declaration. (Marquez Suppl. Decl., Docket No. 49 ¶¶ 5,
    8-9.) The motion for attorneys’ fees indicates the lodestar amount is
    approximately $499,530.50, comprised of 564.7 hours spent at Moon & Yang,
    APC ($343,685), 157.7 hours spent at Ares Law Group, P.C. ($94,620), and 102.9
    hours spent at Leslie Glyer Law, P.C. ($61,225.50), for a total of approximately
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    825.3 hours spend on this litigation. (Mot., Docket No. 38-1 at 7.) As indicated in
    supplemental documentation submitted on the day of the scheduled hearing, Class
    counsel at Moon & Yang also spent an additional 15.4 hours on the case since
    filing the motion, bringing the total number of hours to 840.7. (Marquez Suppl.,
    Docket No. 49 ¶ 4.)

           First, the Court examines whether the number of hours Class Counsel
    expended on the litigation was reasonable. Class Counsel spent a total of
    approximately 840.7 hours on this litigation over the course of nearly two years,
    which included interviewing witnesses, reviewing thousands of pages of
    documents produced by DAL Global Services, preparing for and defending
    Plaintiffs’ depositions, drafting the original and amended complaints, responding
    to discovery, retaining an expert and preparing a damages analysis, and mediation,
    among other tasks related to the case. (Marquez Decl., Docket No. 38-2 ¶¶ 3, 21;
    Glyer Decl., Docket No. 38-4 Ex. 1.) The Court finds that the number of hours
    spend on the litigation was reasonable.

           Second, the Court considers whether Class Counsel’s hourly rates are
    reasonable. The hourly rates for which Plaintiffs seek approval for the Moon &
    Yang, APC attorneys who worked on this case are between $600 and $650 per
    hour, the rates for D’Abusco and Sandoval of the Ares Law Group, P.C. are $600
    per hour, and the hourly rates for Glyer of Leslie Glyer, P.C. are $595. (Marquez
    Decl., Docket No. 38-2 ¶ 34; D’abusco Decl., Docket No. 38-2 ¶ 16; Glyer Decl.,
    Docket No. 38-4 ¶ 14.) Class Counsel’s declarations show that the attorneys are
    experienced and successful litigators. (Marquez Decl., Docket No. 38-2 ¶¶ 25-33;
    D’Abusco Decl., Docket No. 38-3 ¶¶ 3-11; Sandoval Decl., Docket No. 47 ¶¶ 4-15;
    Glyer Decl., Docket No. 38-4 ¶¶ 4-14.) Other courts have approved the attorneys’
    current rates for the Moon & Yang, APC attorneys. (Marquez Decl., Docket No.
    38-3 ¶¶ 29(c),(d), 33.) The hourly rates requested by D’Abusco of $600 and Glyer
    of $595 have not previously been approved by any courts,3 and the record is

                3
            Both D’Abusco and Glyer indicate that their former hourly
    rate of $500 was approved last year by Los Angeles and Riverside
    Superior Courts in other PAGA actions. (D’Abusco Decl., Docket
    No. 38-3 ¶ 16; Glyer Decl., Docket No. 38-4 ¶ 14.) Most
    recently, Glyer’s $500/hour rate was approved on March 12, 2018.
    (Glyer Decl., Docket No. 38-4 ¶ 14.) They now ask the Court to
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    unclear as to what rates courts have approved for Sandoval. The Court assumes
    without deciding that the hourly rate for these attorneys could be either $500 or
    $550 and will calculate the lodestar accordingly.

           The contingent nature of the case supports the fee award here. Attorneys are
    entitled to a larger fee award when their compensation is contingent in nature. See
    Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048-50 (9th Cir. 2002); see also In
    re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1047 (N.D. Cal. 2008). “It is an
    established practice in the private legal market to reward attorneys for taking the
    risk of non-payment by paying them a premium over their normal hourly rates for .
    . . contingency cases.” In re Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d
    1291, 1299 (9th Cir. 1994). This ensures competent representation for plaintiffs
    who may not otherwise be able to afford it. Id. Here, Class Counsel faced
    significant risk from contingent fee litigation because they expended significant
    time and money without guaranteed payment. (Mot., Docket No. 38-1 at 19.)

           Applying the hourly rates that Class Counsel is seeking to the number of
    hours reasonably billed, Class Counsel’s lodestar calculation is either $496,255.00
    (for Ares and Glyer attorneys at $550/hour) or $483,225 (for Ares and Glyer
    attorneys at $500/hour).4 (Marquez Suppl. Decl., Docket No. 49 ¶¶ 8-9.) “After
    determining the lodestar, the Court divides the total fees sought by the lodestar to
    arrive at the multiplier.” Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245,
    265 (N.D. Cal. 2015). “The purpose of this multiplier is to account for the risk
    Class Counsel assumes when they take on contingent-fee cases.” Hopkins v.
    Stryker Sales Corp., No. 11-CV-02786-LHK, 2013 WL 496358, at *4 (N.D. Cal.
    Feb. 6, 2013). “If the multiplier falls within an acceptable range, it further supports


    approve a $600/hour and $595/hour rate respectively based on
    each attorney’s eleven years of litigation experience. (D’Abusco
    Decl., Docket No. 38-3 ¶ 16; Glyer Decl., Docket No. 38-4 ¶ 14.)
                4
           For purposes of the Tentative Order, the Court uses the
    number arrived at by Class Counsel. However, this number may
    require adjustment depending on the additional information
    requested by the Court with regard to an updated affidavit with
    additional hours spent since filing the motion, as well as
    information supporting the award of fees for work performed by
    “CSS.”
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    the conclusion that the fees sought are, in fact, reasonable.” Bellinghausen, 306
    F.R.D. at 265. “Multipliers of 1 to 4 are commonly found to be appropriate in
    complex class action cases.” Hopkins, 2013 WL 496358, at *4; see also Vizcaino,
    290 F.3d at 1051 n.6 (finding that, in approximately 83 percent of the cases
    surveyed by the Court, the multiplier was between 1.0 and 4.0).

            According to Class counsel’s calculations, if the attorneys at the Ares Law
    Group, P.C. and Leslie Glyer Law, P.C. billed at an hourly rate of $550, the
    lodestar would be $496,255.00 with a multiplier of 1.68
    ($833,333.33/$496.255.00). (Marquez Suppl. Decl., Docket No. 49 ¶ 8.) Even if
    the attorneys billed at an hourly rate of $500, Class Counsel’s total lodestar would
    be $483,225.00, which results in a 1.72 multiplier. (Id. ¶ 9.) Under either
    scenario, in light of the results achieved, the duration of the case, the contingent
    nature of Class Counsel’s fee arraignment, and the skill required to conduct this
    litigation, the Court believes that a multiplier of either 1.68 or 1.72 would be
    appropriate. See Vizcaino, 290 F.3d at 1051 n.6.

                In sum, the Court grants the motion for attorneys’ fees for $833,333.33.

                2.    Costs

           Class Counsel incurred $21,139.22 in case-related costs. (Mot., Docket No.
    38-1 at 7.) “Attorneys may recover their reasonable expenses that would typically
    be billed to paying clients in non-contingency matters.” In re Omnivision Techs.,
    559 F. Supp. 2d at 1048. Class Counsel provide adequate documentation of these
    expenses in expense ledgers accompanying their declarations. (Mot., Docket
    No.38-1 at 21-22; Marquez Decl., Docket No. 38-2 ¶ 38; D’Abusco Decl., Docket
    No. 38-3 ¶ 17; Glyer Decl., Docket No. 38-4, Ex. 2.) Therefore, the Court awards
    $21,139.22 for reimbursement of reasonable expenses.

                                          IV. CONCLUSION

           For the foregoing reasons, the Court grants the motion for final approval of
    the class settlement and the Class Representative incentive award. The Court
    grants the motion for attorneys’ fees for $833,333.33 and grants the award for
    $21,139.22 in case-related costs.
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                IT IS SO ORDERED.




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                                                        Initials of Preparer   kjt




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